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Presented to the Court by the foreman of the
Grand Jury in open Court, in the presence of
the Grand Jury and FILED in the US.
DISTRICT COURT at Seattle, Washington.

November 29 7918

M. Mg@OOL, Clerk
By - Deputy

|

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

 

 

 

 

AT TACOMA
UNITED STATES OF AMERICA, CA .
- CR18-55'79 RBL
Plaintiff,
Vv. INDICTMENT ,

(1) CARLOS EDUARDO LOPEZ

HERNANDEZ,
(2) DANIEL OSVALDO ROCHA LOPEZ,
(3). JAIME HEREDIA CASTRO,
(4) JUAN AVILES BERRELLEZA,
(5) EDGAR CABRERA,
(6) CARLOS ALEJANDRO CASTRO

PEREZ,
(7) CESAR LOYA SOTO,
(8) MANUEL LOYA SOTO,
(9) JULIAN GAUGE ORDONEZ,
(10) JOSE LUIS SIERRA BARRIENTOS,
(141) HECTOR MANUEL URIAS

MORENO,
(12) JORGE VALENZUELA ARMENTA,
(13) URIEL ZELAYA,
(14) ARTURO FRIAS CEBALLOS,
(15) JUAN JOSE HIGUERA GONZALEZ,
(16) JESUS RENE SARMIENTO

VALENZUELA,
(17) ALEK JAMES BAUMGARTNER,
(18) ° MONIQUE GREEN,
(19) ANDREW CAIN KRISTOVICH,
(20) BRIAN LIVELY,
(21) JOSE RANGEL ORTEGA,

INDICTMENT UNITED STATES ATTORNEY

United States v. Lopez Hernandez, et al. - 1:

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(22) GERALD KEITH RIGGINS,

(23) ESTHER LA RENA SCOTT,

(24) MICHAEL JOHN SCOTT,

(25) KAREN SURYAN,

(26) ORLANDO BARAJAS,

(27) OSCAR HUMBERTO CARRILLO
SALCEDO,

(28) MARTIN GONZALEZ JIMENEZ,

(29) HECTOR MARIO JACOBO
CHAIREZ,

(30) JESUS ALFONSO MORA
QUINONEZ, and

(31) RAMON PUENTES,

 

Defendants.

 

The Grand Jury charges that:
COUNT 1
(Conspiracy to Distribute Controlled Substances)

Beginning at a time unknown and continuing until on or about November 28,
2018, in Pierce, Kitsap, King, Skagit, and Snohomish Counties, within the Western
District of Washington, and elsewhere, CARLOS EDUARDO LOPEZ HERNANDEZ,
DANIEL OSVALDO ROCHA LOPEZ, JAIME HEREDIA CASTRO, JUAN AVILES
BERRELLEZA, EDGAR CABRERA, CARLOS ALEJANDRO CASTRO PEREZ,
CESAR LOYA SOTO, MANUEL LOYA SOTO, JULIAN GAUGE ORDONEZ, JOSE
LUIS SIERRA BARRIENTOS, HECTOR MANUEL URIAS MORENO, JORGE
VALENZUELA ARMENTA, URIEL ZELAYA, ARTURO FRIAS CEBALLOS, JUAN
JOSE HIGUERA GONZALEZ, JESUS RENE SARMIENTO VALENZUELA, ALEK
JAMES BAUMGARTNER, MONIQUE GREEN, ANDREW CAIN KRISTOVICH,
BRIAN LIVELY, JOSE RANGEL ORTEGA, GERALD KEITH RIGGINS, ESTHER
LA RENA SCOTT, MICHAEL JOHN SCOTT, KAREN SURYAN, ORLANDO
BARAJAS, OSCAR HUMBERTO CARRILLO SALCEDO, MARTIN GONZALEZ
JIMENEZ, HECTOR MARIO JACOBO CHAIREZ, JESUS ALFONSO MORA

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QUINONEZ, RAMON PUENTES, and others known and unknown, did knowingly and
intentionally conspire to distribute substances controlled under Title 21, United States
Code, Section 812, Schedules I and II, to wit: heroin, Fentanyl, heroin, and
methamphetamine, contrary to the provisions of Title 21, United States Code.

Specific Quantity Allegations as to Heroin

The Grand Jury further alleges that with respect to CARLOS EDUARDO LOPEZ
HERNANDEZ, DANIEL OSVALDO ROCHA LOPEZ, JAIME HEREDIA CASTRO,
JUAN AVILES BERRELLEZA, CARLOS ALEJANDRO CASTRO PEREZ, CESAR
LOYA SOTO, JOSE LUIS SIERRA BARRIENTOS, HECTOR MANUEL URIAS
MORENO, ARTURO FRIAS CEBALLOS, JUAN JOSE HIGUERA GONZALEZ,
JESUS RENE SARMIENTO VALENZUELA, GERALD KEITH RIGGINS, MARTIN
GONZALEZ JIMENEZ, HECTOR MARIO JACOBO CHAIREZ, and JESUS
ALFONSO MORA QUINONEZ, their conduct as members of the conspiracy charged in
Count 1, which includes the reasonably foreseeable conduct of other members of the
conspiracy charged in Count 1, involved 1 kilogram or more of a mixture or substance
containing a detectable amount of heroin, in violation of Title 21, United States Code,
Section 841(b)(1)(A).

The Grand Jury further alleges that with respect to MONIQUE GREEN, KAREN
SURYAN, and URIEL ZELAYA, their conduct as members of the conspiracy charged in
Count 1, which includes the reasonably foreseeable conduct of other members of the
conspiracy charged in Count 1, involved 100 grams or more of a mixture or substance
containing a detectable amount of heroin, in violation of Title 21, United States Code,
Section 841(b)(1)(B).

Specific Quantity Allegations as to Fentanyl

The Grand Jury further alleges that this with respect to CARLOS EDUARDO
LOPEZ HERNANDEZ, DANIEL OSVALDO ROCHA LOPEZ, JAIME HEREDIA
CASTRO, JUAN AVILES BERRELLEZA, CARLOS ALEJANDRO CASTRO PEREZ,
CESAR LOYA SOTO, MANUEL LOYA SOTO, HECTOR MANUEL URIAS

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United States v. Lopez Hernandez, et al. -3
 

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MORENO, JORGE VALENZUELA ARMENTA, ARTURO FRIAS CEBALLOS,
JUAN JOSE HIGUERA GONZALEZ, JESUS RENE SARMIENTO VALENZUELA,
ANDREW CAIN KRISTOVICH, BRIAN LIVELY, ESTHER LA RENA SCOTT,
MICHAEL JOHN SCOTT, MARTIN GONZALEZ JIMENEZ, JESUS ALFONSO
MORA QUINONEZ, and RAMON PUENTES, their conduct as members of the
conspiracy charged in Count 1, which includes the reasonably foreseeable conduct of
other members of the conspiracy charged in Count 1, involved 400 grams or more of a
mixture or substance containing a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-
4-piperidinyl] propanamide (Fentanyl), and 100 grams or more of any analogue of N-
phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide (Fentanyl), in violation of Title
21, United States Code, Section 841(b)(1)(A).

The Grand Jury further alleges that with respect to ALEK JAMES
BAUMGARTNER and JOSE RANGEL ORTEGA, their conduct as members of the
conspiracy charged in Count 1, which includes the reasonably foreseeable conduct of
other members of the conspiracy charged in Count 1, involved 40 grams or more of a
mixture or substance containing a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-
4-piperidinyl] propanamide (Fentanyl), and 10 grams or more of any analogue of N-
phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide (Fentanyl), in violation of Title
21, United States Code, Section 841(b)(1)\(B.).

Specific Quantity Allegations as to Methamphetamine

The Grand Jury further alleges that with respect to CARLOS EDUARDO LOPEZ
HERNANDEZ, DANIEL OSVALDO ROCHA LOPEZ, EDGAR CABRERA, CARLOS
ALEJANDRO CASTRO PEREZ, JULIAN GAUGE ORDONEZ, URIEL ZELAYA, and
MARTIN GONZALEZ JIMENEZ, their conduct as members of the conspiracy charged
in Count 1, which includes the reasonably forseeable conduct of the other members of the

conspiracy charged in Count 1, involved 50 grams or more of methamphetamine, its salts,

isomers, and salts of its isomers, and 500 grams or more of a mixture or substance

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containing a detectable amount of methamphetamine, its salts, isomers, and salts of its
isomers, in violation of Title 21, United States Code, Section 841(b)(1)(A).

The Grand Jury further alleges that with respect to ANDREW CAIN
KRISTOVICH, his conduct as a member of the conspiracy charged in Count 1, which
includes the reasonably forseeable conduct of the other members of the conspiracy
charged in Count 1, involved 5 grams or more of methamphetamine, its salts, isomers, -
and salts of its isomers, and 50 grams or more of a mixture or substance containing a
detectable amount of methamphetamine, its salts, isomers, and salts of its isomers, in
violation of Title 21, United States Code, Section 841(b)(1)(B).

All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1), and
846.

COUNT 2
(Conspiracy to Commit Money Laundering)

Beginning at a time unknown, but within the last five years, and continuing
through November 28, 2018, in Skagit County, within the Western District of
Washington, and elsewhere, JAIME HEREDIA CASTRO, ORLANDO BARAJAS, and
others known and unknown, unlawfully and knowingly combined, conspired,
confederated and agreed together and with each other to commit certain money
laundering offenses under Title 18, United States Code, Section 1956, as follows:

1956(a)(1)(B)(i)

Did conduct and attempt to conduct financial transactions, that is: transactions
involving the movement of funds by wire and other means affecting interstate and foreign
commerce, which in fact involved the proceeds of specified unlawful activity, that is,
conspiracy to distribute controlled substances, in violation of Title 21, United States
Code, Sections 841(a)(1) and 846, knowing that the transactions are designed in whole or
in part to conceal and disguise the nature, the location, the source, the ownership, and the
control of the proceeds of the specified unlawful activity, in violation of Title 18, United
States Code, Section 1956(a)(1)(B)(i); and

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1956(a)(1)(B)(ii)

Did conduct and attempt to conduct financial transactions, that is: transactions
involving the movement of funds by wire and other means affecting interstate and foreign
commerce, which in fact involved the proceeds of specified unlawful activity, that is,
conspiracy to distribute controlled substances, in violation of Title 21, United States
Code, Sections 841(a)(1) and 846, knowing that the transactions are designed in whole or
in part to avoid a transaction reporting requirement under State and Federal Law, in
violation of Title 18, United States Code, Section 1956(a)(1)(B)(ii).

The Grand Jury further alleges this offense was committed during and in
furtherance of the conspiracy charged in Count 1, above.

All in violation of Title 18, United States Code, Section 1956(h).

COUNT 3
(Conspiracy to Commit Money Laundering)

Beginning at a time unknown, but within the last five years, and continuing
through November 28, 2018, in King County, within the Western District of Washington,
and elsewhere, O9CAR HUMBERTO CARRILLO SALCEDO, CARLOS EDUARDO
LOPEZ HERNANDEZ, DANIEL OSVALDO ROCHA LOPEZ, EDGAR CABRERA,
and others known and unknown, unlawfully and knowingly combined, conspired,
confederated and agreed together and with each other to commit certain money
laundering offenses under Title 18, United States Code, Section 1956, as follows:

1956(a)(1)(B)@)

Did conduct and attempt to conduct financial transactions, that is: transactions
involving the movement of funds by wire and other means affecting interstate and foreign
commerce, which in fact involved the proceeds of specified unlawful activity, that is,
conspiracy to distribute controlled substances, in violation of Title 21, United States
Code, Sections 841(a)(1) and 846, knowing that the transactions are designed in whole or
in part to conceal and disguise the nature, the location, the source, the ownership, and the
control of the proceeds of the specified unlawful activity, in violation of Title 18, United

States Code, Section 1956(a)(1)(B)(i); and
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United States v. Lopez Hernandez, et al. - 6
 

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1956(a)(1)(B)Gi)

Did conduct and attempt to conduct financial transactions, that is: transactions
involving the movement of funds by wire and other means affecting interstate and foreign
commerce, which in fact involved the proceeds of specified unlawful activity, that is,
conspiracy to distribute controlled substances, in violation of Title 21, United States
Code, Sections 841(a)(1) and 846, knowing that the transactions are designed in whole or
in part to avoid a transaction reporting requirement under State and Federal Law, in
violation of Title 18, United States Code, Section 1956(a)(1)(B)(ii).

The Grand Jury further alleges this offense was committed during and in
furtherance of the conspiracy charged in Count 1, above.

All in violation of Title.18, United States Code, Section 1956(h).

ASSET FORFEITURE ALLEGATIONS

Drug Offense

The allegations in Count 1 of this Indictment are hereby realleged and -
incorporated by reference herein for the purpose of alleging forfeiture to the United
States pursuant to Title 21, United States Code, Section 853.

Pursuant to Title 21, United States Code, Section 853, upon conviction of the
felony drug offense charged in Count 1 of this Indictment, defendants CARLOS
EDUARDO LOPEZ HERNANDEZ, DANIEL OSVALDO ROCHA LOPEZ, JAIME
HEREDIA CASTRO, JUAN AVILES BERRELLEZA, EDGAR CABRERA, CARLOS
ALEJANDRO CASTRO PEREZ, CESAR LOYA SOTO, MANUEL LOYA SOTO,
JULIAN GAUGE ORDONEZ, JOSE LUIS SIERRA BARRIENTOS, HECTOR
MANUEL URIAS MORENO, JORGE VALENZUELA ARMENTA, URIEL ZELAYA,
ARTURO FRIAS CEBALLOS, JUAN JOSE HIGUERA GONZALEZ, JESUS RENE
SARMIENTO VALENZUELA, MONIQUE GREEN, ANDREW CAIN KRISTOVICH,
JOSE RANGEL ORTEGA, GERALD KEITH RIGGINS, ESTHER LA RENA SCOTT,
MICHAEL JOHN SCOTT, KAREN SURYAN, ORLANDO BARAJAS, OSCAR
HUMBERTO CARRILLO SALCEDO, MARTIN GONZALEZ JIMENEZ, HECTOR

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MARIO JACOBO CHAIREZ, JESUS ALFONSO MORA QUINONEZ, and RAMON
PUENTES, shall forfeit to the United States of America any and all property, real or
personal, constituting or derived from, any proceeds the defendants obtained, directly or
indirectly, as the result of such offenses, and shall further forfeit any and all property, real
or personal, used, or intended to be used, in any manner or part, to commit, or to facilitate
the commission of, such offenses. The property to be forfeited includes, but is not
limited to, the following: |

a. One hundred sixty-four thousand, one hundred and sixteen dollars

($164,116.00), more or less, seized from 31900 104th Avenue Southeast,
Unit I-101, Auburn, Washington, on August 31, 2018;
b. Four pairs of shoes; and
c. A sum of money representing the proceeds that each defendant obtained as
a result of the Conspiracy to Distribute Controlled Substances, as alleged in
Count 1, above. - | |
Money Laundering Offenses

The allegations in Counts 2 and 3 of this Indictment are hereby realleged and
incorporated by reference herein for the purposes of alleging forfeiture to the United
States pursuant to Title 18, United States Code, Section 982(a)(1).

Upon conviction of the felony offense in violation of Title 18, United States Code,
Sections 1956, as charged in Counts 2 and 3 of this Indictment, defendants JAIME
HEREDIA CASTRO, ORLANDO BARAJAS, OSCAR HUMBERTO CARRILLO
SALCEDO, CARLOS EDUARDO LOPEZ HERNANDEZ, DANIEL OSVALDO
ROCHA LOPEZ, and EDGAR CABRERA, shall forfeit to the United States of America
any property, real or personal, involved in such offenses, and any property traceable to
such property, including but not limited to the following,

a. A sum of money representing any property, real or personal, involved in the

offenses charged in Counts 2 and 3 of this Indictment, and any property

traceable to such property.

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Substitute Assets

If any of the property described above, as a result of any act or omission of the
defendants:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the Court;
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d. has been diminished in value; or
e. has been commingled with other property which cannot be divided without
difficulty,

it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), to seek the forfeiture of any other property of the defendants up to the value of

the above-described forfeitable property.

TTE L. KAYE

United States Attorn

A pi
Ss Y. VOGEL
Assistant United States Attorney

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CI L. ELLSWORTH
Assistant United States Attorney

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Assistant United States Attorney

INDICTMENT

United States v. Lopez Hernandez, et al. - 10

A TRUE BILL:
DATED: {]- 239 2018

(Signature of Foreperson redacted
pursuant to the policy of the Judicial
Conference of the United States)

 

FOREPERSON

UNITED STATES ATTORNEY
1201 PACIFIC AVENUE, SUITE 700
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